      Case 3:10-cv-00388 Document 85 Filed on 10/03/12 in TXSD Page 1 of 1



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

BRANDON A. BACKE, et al,                        §
                                                §
        Plaintiffs,                             §
VS.                                             §   CIVIL ACTION NO. 3:10-CV-388
                                                §
STEVEN LEBLANC, et al,                          §
                                                §
        Defendants.                             §

          ORDER FOLLOWING TELEPHONE SCHEDULING CONFERENCE
                     HELD ON October 3, 2012 at 8:30 AM

       Appearance for Plaintiff                             Appearance for Defendant

       Gene Nettles                                         Norman R. Giles
       Blake Runions

The following schedule shall govern the disposition of this case:

       New parties/class allegations by:                    None
       Plaintiff’s experts to be designated by:             June 1, 2013
       Report furnished by:                                 June 1, 2013
       Defendant’s experts to be designated by:             July 1, 2013
       Report furnished by:                                 July 1, 2013
       Discovery (fact) to be completed by:                 April 1, 2013
       Dispositive motions due by:                          April 30, 2013
       Docket call to be held in Houston, Tx. on:           September 9, 2013 at 11:30 a.m.
       Estimated trial time: TBD                            Jury

The following rulings were made:

       Pursuant to the judgment and mandate issued by the Fifth Circuit Court of Appeals, the
defendants Steven LeBlanc and Charley Wiley are DISMISSED from this suit, without
prejudice.

       It is so ORDERED.

       SIGNED on this 3rd day of October, 2012.

                                                 ___________________________________
                                                 Kenneth M. Hoyt
                                                 United States District Judge


1/1
